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11 Attorneys for United States of America

12                                   UNITED STATES DISTRICT COURT

13                                  NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                             Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                     UNITED STATES’ WITNESS LIST

17
                              v.
18
      CARLOS E. KEPKE,
19
             Defendant.
20

21          The United States of America hereby submits a list of prospective witnesses that may be called
22 to testify at trial. The United States reserves its rights, in keeping with the Federal Rules of Criminal

23 Procedure, to expand or modify this list before trial and to call additional witnesses as may be necessary

24 during trial.

25          1.       Arguelles, Emil: Mr. Arguelles is a former employee of Cititrust International, Ltd., a
26 Belizean company which served, for a time, as the Trustee of the Excelsior Trust, and is also one of the

27 owners of Orion Corporate & Trust Services, Ltd., another Belizean company which served, for a time,

28 as the Trustee of the Excelsior Trust, and will testify about Defendant’s business practices, his dealings


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 1 with Defendant and others, and the conspiracy to conceal Mr. Smith’s income.

 2          2.       Davis, Denise: Ms. Davis is a former employee of Vista Equity Partners, and will testify

 3 about Vista Equity Partners’ business practices.

 4          3.       Dubinsky, Bruce: Mr. Dubinsky will testify as an expert witness regarding the issues

 5 disclosed by the United States to Defendant pursuant to Rule 16.

 6          4.       Godfrey, Glen: Mr. Godfrey is one of the owners of Cititrust International, Ltd., a

 7 Belizean company which served, for a time, as the Trustee of the Excelsior Trust, and will testify about

 8 Defendant’s business practices, his dealings with Defendant and others, and the conspiracy to conceal

 9 Mr. Smith’s income.

10          5.       Humphreys, Roger: Mr. Humphreys is a former employee of Mah and Associates, and

11 was involved in preparing Robert Smith’s income tax returns, and will testify about the preparation of

12 Robert Smith’s income tax returns.

13          6.       Kong, Kin: Mr. Kong is an Internal Revenue Service Revenue Agent who was involved

14 in an audit of Vista Equity Partners in 2015, and will testify about that audit.

15          7.       Mah, Brian: Mr. Mah is a Partner in Mah and Associates, and was involved in preparing

16 Robert Smith’s income tax returns, and will testify about the preparation of Robert Smith’s income tax

17 returns.

18          8.       Mah, Robert: Mr. Mah is a Partner in Mah and Associates, and was involved in preparing

19 Robert Smith’s income tax returns, and will testify about the preparation of Robert Smith’s income tax

20 returns.

21          9.       Oertel, James: Mr. Oertel is an Internal Revenue Service Revenue Agent, and will testify

22 as a summary expert witness regarding the issues disclosed by the United States to Defendant pursuant

23 to Rule 16.

24          10.      Smith, Robert: Mr. Smith is a former client of Defendant’s, and will testify about

25 Defendant’s business practices, his dealings with Defendant and others, and the conspiracy to conceal

26 Mr. Smith’s income.

27          11.      Neal, Robyn: Ms. Neal is a former employee of Banque Bonhote in Switzerland, and will

28 testify about Defendant’s business practices, her dealings with Defendant and others, and the conspiracy


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 1 to conceal Mr. Smith’s income.

 2          12.     Undercover Agent: An Internal Revenue Service Special Agent who participated in an

 3 undercover operation involving Defendant will testify about statements made to and by Defendant

 4 during the course of the investigation.

 5          13.     In the absence of stipulations, the government will call a Special Agent who participated

 6 in the execution of search warrants at Defendant’s home office and storage unit in Houston, Texas, in

 7 August 2018, as well as document custodians from multiple institutions and entities, possibly including

 8 Bank of America, Comerica Bank, Deloitte & Touche, the Internal Revenue Service, Vista Equity

 9 Partners, Yahoo, Inc.

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12
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